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 3
                                  UNITED STATES DISTRICT COURT
 4
                                  FOR THE DISTRICT OF COLUMBIA
 5
 6   UNITED STATES OF AMERICA,                    ) No. CR21-352 (JEB)
                                                  )
 7                   Plaintiff,                   )
                                                  ) (PROPOSED) ORDER GRANTING
 8             v.                                 ) MOTION TO WITHDRAW
                                                  )
 9   MARC BRU,                                    )
                                                  )
10                   Defendant.                   )
                                                  )
11                                          ORDER
12         THE COURT has considered the Motion to Withdraw and for Appointment of
13   New Counsel and the records and files in this case.
14         IT IS NOW ORDERED that Assistant Federal Public Defender Gregory Geist is
15   permitted to withdraw as defense counsel in this matter, and that new counsel shall be
16   appointed to represent Marc Bru.
17         DONE this ___ day of March 2023.
18
19
20                                            ________________________________
                                              JAMES E. BOASBERG
21                                            UNITED STATES DISTRICT JUDGE
22
23   Presented by:

24   s/ Gregory Geist
     Assistant Federal Public Defender
25   Attorney for Marc Bru
26


       ORDER GRANTING MOTION TO WITHDRAW
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